Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 1 of 14 Page ID #:196



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   5
   6 Attorneys for Defendant Beautycon Media, Inc.
   7
   8                      UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10                                 WESTERN DIVISION
  11
       3G PRODUCTIONS, INC,                  )   Case No. 2:20-cv-01379-FMO (JEM)
  12                                         )
                                             )   Hon. Fernando M. Olguin
  13                    Plaintiff,           )
                                             )   DEFENDANT BEAUTYCON
  14       v.                                )   MEDIA, INC.’s EX PARTE
                                             )   APPLICATION FOR ORDER
  15 BEAUTYCON MEDIA, INC.,                  )   DETERMINING THAT LEVIED-
                                             )   UPON FEDERAL PAYCHECK
  16                                         )   PROTECTION PROGRAM (PPP)
                 Defendant                   )   FUNDS RECEIVED BY
  17                                         )   DEFENDANT ARE EXEMPT
                                             )   FROM LEVY/EXECUTION
  18                                         )
                                             )   [FRCP 69(a)(1)]__
  19                                         )
                                             )   [Declarations of Michael Rafter and
  20                                         )   Kenneth D. Freundlich, Esq. filed
                                             )   concurrently herewith]
  21                                         )
                                             )   Judgment Entered; May 12, 2020
  22 A
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  26                            0
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
  28       BY DEFENDANT ARE EXEMPT FROM LEVY/EXECUTION
Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 2 of 14 Page ID #:197



   1        TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2        Defendant BEAUTYCON MEDIA, INC. (“Defendant”) will and does hereby,
   3 pursuant to Fed. R. Civ. P. 69(a), apply to the Court ex parte for an order
   4 determining that levied-upon federal Paycheck Protection Program (“PPP” or the
   5 “Program”) funds received by Defendant under the Program (the “PPP Funds”) and
   6 which had been deposited into Defendant’s account (last four digits of the account
   7 number are 8802) at Citibank, N.A. (“Defendant’s Bank Account”), are exempt from
   8 levy/execution as a matter of federal and/or California law. Accordingly, the Court
   9 should also order that Citibank, N.A. release any hold on Defendant’s Bank Account
  10 and make the PPP Funds therein available forthwith for Defendant’s immediate use.
  11 In the event the PPP Funds have already been turned over to the U.S. Marshals
  12 and/or the appointed registered process server, the Court should order that the PPP
  13 Funds be returned forthwith to Citibank, N.A., who shall in turn make such funds
  14 available forthwith for Defendant’s immediate use.
  15        The relief is sought ex parte because Plaintiff 3G Productions, Inc.
  16 (“Plaintiff”) has levied upon Defendant’s Bank Account which contains the unused
  17 portion of the PPP funds received by Defendant from Citibank, N.A. on May 4,
  18 2020 through a PPP loan—funds which are specifically earmarked for payment to
  19 Defendant’s employees for payroll and health insurance benefits during the COVID-
  20 19 pandemic. See Declaration of Michael Rafter dated July 24, 2020 (“Rafter
  21 Decl.”) ¶¶ 2-8; see also CARES ACT (2020), (9 H.R. 748), 15 U.S.C. 636 et seq.
  22 (the “CARES Act”), an excerpt from which is attached as Exhibit 1 to the
  23 Declaration of Kenneth Freundlich, Esq. dated July 24, 2020.
  24        Defendant was able to cover its payroll for the period ending July 31, 2020,
  25 but without the PPP Funds, which have been levied upon by Plaintiff, Defendant will
  26                            1
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
  28       BY DEFENDANT ARE EXEMPT FROM LEVY/EXECUTION
Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 3 of 14 Page ID #:198



   1 be unable to fund its payroll and health insurance benefits for its employees and such
   2 employees will be let go on July 31, 2020, rendering them unemployed without
   3 benefits. Rafter Decl. ¶7. The entire remaining funds that have been levied upon
   4 have been budgeted by Defendant to maintain payroll and benefits for Defendant’s
   5 employees for a period of time during which Defendant seeks to restructure its
   6 business for the future due to COVID-19’s effect on its business. Id. ¶8.
   7        Without this relief on an expedited basis, Defendant and most importantly its
   8 employees for whom the PPP exists, will be irreparably and substantially harmed.
   9        Under Fed. R. Civ. P. 69(a), state (California) law generally applies to
  10 judgment enforcement proceedings, except that “a federal statute governs to the
  11 extent it applies.” As set forth hereinbelow, the federal CARES Act governs here
  12 and impliedly preempts (under the doctrine of conflict preemption) any California
  13 law that would otherwise, arguendo, permit execution on the PPP Funds. Indeed, the
  14 CARES Act explicitly delineates permissible uses of PPP Funds, none of which
  15 include satisfaction of judgments or other debts.
  16        Alternatively, even under California law, as expressed in Governor Gavin
  17 Newsom’s Executive Order N-57-20 (the “Executive Order”) 1, the PPP Funds are
  18 per se exempt based upon, the text, structure, and purpose of the Executive Order.
  19        Compliance with Local Rule 7-19 and Court’s Standing Order
  20        On July 23, 2020, counsel for Defendant informed counsel for Plaintiff during
  21 a phone call that Defendant intended to bring this application for ex parte relief and
  22 Plaintiff was asked to release its levy upon the PPP Funds immediately, but has
  23
  24
  25  A true and correct copy of the Executive Order is attached as Exhibit 3 to the
       1
     Freundlich Decl.
  26                                          2
      DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27                ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
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Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 4 of 14 Page ID #:199



   1 declined to do so. Plaintiff has simply not responded and therefore it is presumed
   2 Plaintiff will oppose this application for ex parte relief. See Freundlich Decl. ¶2.
   3        As required by Section V of this Court’s Standing Order, following the e-filing
   4 of this ex parte application, Defendant will “notify the opposition that
   5 opposing papers must be filed no later than….one court day” following e-filing of
   6 this ex parte application. See Freundlich Decl. ¶2.
   7        As required by L.R. 7-19, below are the names, address, telephone numbers,
   8 and e-mail addresses of Plaintiff’s counsel as listed on the PACER docket for this
   9 action:
  10 Robert Brian Milligan
     Sierra J Chinn-Liu
  11 Seyfarth Shaw LLP
  12 2029 Century Park East Suite 3500
     Los Angeles, CA 90067
  13 310-277-7200
  14 Fax: 310-201-5219
     Email: schinnliu@seyfarth.com
  15 Email: rmilligan@seyfarth.com
  16 DATED: July 24, 2020                    FREUNDLICH LAW
  17                                         ____________________
                                             Kenneth D. Freundlich
  18                                         Michael J. Kaiser
  19                                         Attorneys for Defendant Beautycon Media,
                                             Inc.
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  26                            3
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
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Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 5 of 14 Page ID #:200



   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     INTRODUCTION
   3        On July 21, 2020, Plaintiff, 3G Productions, Inc, (“Plaintiff”), having obtained
   4 a Writ of Execution from this Court (Doc. No. 29), levied on Defendant Beautycon
   5 Media, Inc.’s (“Defendant”) Citibank N.A. bank account (last four digits: 8802
   6 (“Defendant’s Bank Account”) containing Defendant’s remaining Payroll Protection
   7 Program (“PPP”) proceeds (the “Remaining PPP Funds”). See Declaration of
   8 Michael Rafter dated July 24, 2020 (“Rafter Decl.”) ¶4, Exh. 3 (notice of levy).
   9        Under Fed. R. Civ. P. 69(a)(1) and controlling Ninth Circuit authority, in
  10 adjudicating post-judgment matters, the Court is required to follow “a federal
  11 statute…to the extent it applies.” As set forth hereinbelow, the federal CARES Act 2
  12 governs here and impliedly preempts (under the doctrine of conflict preemption) any
  13 California law that would otherwise, arguendo, permit execution on the Remaining
  14 PPP Funds. Indeed, the CARES Act explicitly delineates the limited permissible
  15 uses of any funds received under the PPP, none of which include satisfaction of
  16 judgments or other debts, and thus precludes Plaintiff’s levy.
  17        Alternatively, even under California law, as expressed in Governor Gavin
  18 Newsom’s Executive Order N-57-20 (sometimes referred to simply as the
  19 “Executive Order”)3, PPP funds are per se exempt based upon the text and purpose
  20 of the Executive Order.
  21 II.    THE LEVIED FUNDS ARE PPP FUNDS
  22        On May 2, 2020, Defendant executed a Paycheck Protection Program Loan
  23 Note with Citibank, N.A. in the amount of $522,800.00. Rafter Decl. ¶2,Exh. 1. The
  24
  25  CARES ACT (2020), (9 H.R. 748), 15 U.S.C. 636 et seq.
       2
      See footnote 1, supra.
       3
  26                                      4
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27                ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
  28          BY DEFENDANT ARE EXEMPT FROM LEVY/EXECUTION
Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 6 of 14 Page ID #:201



   1 funds were deposited into Defendant’s Bank Account on May 4, 2020. Id. Although
   2 Defendant’s Bank Account contained other monies, Defendant tracked the use of its
   3 PPP funds in a ledger and used its PPP funds only in the permissible ways under the
   4 CARES Act, to pay for the payroll and benefits for its eight current employees, seven
   5 of whom are paid bimonthly and one of who is paid monthly, and for May 2020 rent.
   6 Rafter Decl. 3, Exh 2. (redacted to protect the names of the employees).
   7        On July 21, 2020, the day Plaintiff levied upon Defendant’s Bank Account in
   8 the amount of $283,015.48 of the Remaining PPP Funds, See Rafter Decl. ¶4, Exh. 3,
   9 the Remaining PPP Funds totaled $337,206.32, which means that Plaintiff’s levy left
  10 only $54,190.84 of the Remaining PPP Funds. Rafter Decl. ¶5. On July 24, 2020,
  11 Defendant funded its July 31, 2020 payroll in the amount of $27,297.23 which leaves
  12 Defendant with a mere $26,893.61 to meet its future payroll and benefit obligations.
  13 Rafter Decl. ¶6, Exh. 4. Furthermore, the July 31, 2020 payroll does not include
  14 payroll for the CEO whose salary is paid once per month on the 15th of the month.
  15 Id.
  16        Defendant will have to lay off employees after July 31, 2020 because if
  17 employees continue to work after that date, there will be insufficient funds for
  18 payroll and related benefit. Rafter Decl. ¶ 7.
  19 III.   THE FEDERAL CARES ACT GOVERNS HERE, PREEMPTS ANY
  20        CALIFORNIA LAW TO THE CONTRARY, AND PRECLUDES
  21        PLAINTIFF’S LEVY/EXECUTION UPON THE REMAINING PPP
  22        FUNDS
  23        The Ninth Circuit, in analyzing the respective roles of federal and state law in
  24 post-judgment enforcement matters under Fed. R. Civ. P. 69(a)(1), emphatically
  25 recognized that where, as here, there is an applicable federal statute, such federal
  26                            5
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
  28       BY DEFENDANT ARE EXEMPT FROM LEVY/EXECUTION
Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 7 of 14 Page ID #:202



   1 statute governs notwithstanding any state law to the contrary. See United States v.
   2 Gianelli, 543 F.3d 1178, 1182-83 (9th Cir. 2008). Indeed, any conflicting state law
   3 is preempted to the extent inconsistent with governing federal law. Cf. id. at 1183
   4 (“[A] state law limiting such collection is inconsistent with the purpose of the
   5 [federal] act and is, therefore, preempted.”).
   6         Here, the CARES Act—in particular, Section 1102 thereof4 and the
   7 administrative rules promulgated pursuant thereto 5—exclusively governs the
   8 permissible disposition of PPP funds. Specifically, Section 1102(F) enumerates
   9 “allowable uses” of PPP funds, which include, inter alia, payroll costs, costs for
  10 group health care benefits, rent, and utilities, but which do not include payment to or
  11 other satisfaction of judgment creditors. See also 13 CFR Part 120(r) (listing
  12 permissible uses of PPP funds).
  13         As in Gianelli, to the extent California law would—contrary to the CARES
  14 Act and concomitant regulations—permit the levying and execution upon
  15 Defendant’s PPP Funds, such levy/execution is not only inoperative by the text of
  16 Fed. R. Civ. P. 69(a)(1)6, but also by the preemptive force of federal law.
  17         Here, the implied preemption doctrine of conflict preemption applies. “There
  18 are two types of implied preemption: field preemption and conflict preemption.
  19 ….Conflict preemption analysis examines the federal statute as a whole to determine
  20 whether a party's compliance with both federal and state requirements is impossible
  21
  22   4
          A true and correct copy of Section 1102 of the CARES Act is attached as Exhibit 1
       to  the Freundlich Decl.
  23   5
          See, e.g., 13 CFR Part 120, a true and correct copy of which is attached as Exhibit
       26 to the Freundlich Decl.
  24      “The procedure on execution—and in proceedings supplementary to and in aid of
        judgment or execution—must accord with the procedure of the state where the court
  25    is located, but a federal statute governs to the extent it applies.” (emphasis
       added).
  26                                               6
         DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27                     ORDER DETERMINING THAT LEVIED-UPON__
         FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
  28               BY DEFENDANT ARE EXEMPT FROM LEVY/EXECUTION
Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 8 of 14 Page ID #:203



   1 or whether, in light of the federal statute's purpose and intended effects, state law
   2 poses an obstacle to the accomplishment of Congress's objectives.” Whistler
   3 Investments, Inc. v. Depository Tr. & Clearing Corp., 539 F.3d 1159, 1164 (9th Cir.
   4 2008) (“Whistler Investments”) (emphasis added).
   5               Compliance with Both Federal and State Requirements is
   6               Impossible
   7        Were the Court to permit Plaintiff’s levy/execution upon the Remaining PPP
   8 Funds, it would make it impossible—for a number of reasons—to comply with the
   9 PPP requirements set forth in the CARES Act and concomitant regulations.
  10        As stated above, the CARES Act and concomitant regulations list the
  11 permissible uses of PPP funds, which require utilizing the funds to keep a company’s
  12 workers employed and the company afloat. See CARES Act §1102(F)(i)(I)-(VI).
  13 While Congress also specifically permits the use of PPP funds to cover “interest on
  14 any…debt obligations…,” Congress did not provide that the funds could be used to
  15 satisfy debt obligations themselves (e.g., Plaintiff’s judgment); thus, further
  16 reinforcing the impermissibility of levying/executing upon the Remaining PPP
  17 Funds. See Longview Fibre Co. v. Rasmussen, 980 F.2d 1307, 1312-13 (9th Cir.
  18 1992) (“Most strongly put, the expressio unius, or inclusio unius, principle is that
  19 ‘[w]hen a statute limits a thing to be done in a particular mode, it includes a negative
  20 of any other mode.’”) (quoting Raleigh & Gaston Ry. Co. v. Reid, 80 U.S. (13 Wall.)
  21 269, 270 (1871)).
  22        Likewise, Section 1102(G)(i)(II) of the CARES Act required Defendant—as a
  23 condition for Defendant to have received the PPP funds—to “make a good faith
  24 certification…acknowledging that [the PPP funds] will be used to retain workers and
  25 maintain payroll or make mortgage payments, lease payments, and utility payments.”
  26                            7
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
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Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 9 of 14 Page ID #:204



   1 See also Rafter Decl. ¶2, Exh. 1. (certificate portion highlighted). Clearly,
   2 levying/executing upon the Remaining PPP Funds would force Defendant to be
   3 unable to comply with this certification under federal law—a paragon of conflict
   4 preemption.
   5               Considering the CARES Act’s Purpose and Intended Effects, Any
   6               California Law That Would Permit Levying/Executing Upon the
   7               Remaining PPP Funds Poses an Obstacle to the Accomplishment of
   8               Congress’ Objectives
   9        Although the impossibility of compliance with both federal and state
  10 requirements is sufficient here to find conflict preemption, see Whistler Investments,
  11 539 F.3d at 1164, such preemption also exists here by virtue of the fact that any
  12 California law that would permit levying/executing upon Defendant’s Remaining
  13 PPP Funds would frustrate Congress’ objectives under the CARES Act.
  14        The heading for Title I of the CARES ACT, in which Section 1102 appears,
  15 succinctly and emphatically states the Congressional objective behind PPP funds:
  16 “Keeping American Workers Paid and Employed….”             Here, it is clear that in
  17 specifically enumerating the permissible uses of PPP funds (discussed above) against
  18 the backdrop of the present, unprecedented pandemic, Congress’ purpose was to
  19 render these funds a lifeline to American businesses, and in turn, the workers they
  20 employee.
  21        Accordingly, were the Court to permit levying/execution upon PPP funds it
  22 would frustrate the very purpose and intended effect of such funds as businesses like
  23 Defendant would not only be unable to comply with statutory and regulatory
  24 requirements, but will also be forced to lay off employees and perhaps close down.
  25 See Section II, supra.
  26                            8
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
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Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 10 of 14 Page ID #:205



   1 IV.     ALTERNATIVELY, GOVERNOR NEWSOM’S EXECUTIVE ORDER
   2         RENDERS THE REMAINING PPP FUNDS PER SE EXEMPT UNDER
   3         CALIFORNIA LAW
   4         In the alternative, the text and purpose of Governor Newsom’s Executive
   5 Order N-57-20 render the Remaining PPP Funds per se exempt under California law.
   6         Part (1) of the Executive Order provides an exemption for “[f]inancial
   7 assistance made available under section 2201 of the CARES Act (concerning 2020
   8 Recovery Rebates for Individuals), and any other federal-, state-, or local-
   9 government financial assistance made available to individuals in express response to
  10 the COVID-19 pandemic.”7
  11         Here, the PPP Funds are “federal-government financial assistance made
  12 available to individuals in express response to the COVID-19 pandemic.” Plaintiff
  13 will undoubtedly argue to the contrary since the PPP funds were directly made
  14 available to Defendant, which is an entity, not a “individual.” However, Plaintiff’s
  15 anticipated argument misses the mark for at least a couple reasons.
  16         First, the Executive Order does not require that the “government financial
  17 assistance” be made directly available to individuals, but rather merely “made
  18 available.” Here, the Remaining PPP Funds are earmarked to pay employees (i.e.,
  19
  20   7
         Although the Executive Order, part (1), provides exemption from “any attachment,
       levy, execution, or garnishment…without requiring any further action by the
  21   person receiving such financial assistance (including, but not limited to, the
       filing of any claim)” (emphasis added), Defendant nevertheless, out of an abundance
  22   of caution, has filed a claim of exemption. Rafter Decl. ¶9, Exh. 5. And, in any
       event, not requiring the formality of filing a Claim of Exemption is consistent with
  23   the substance of Fed. R. Civ. P. 69(a). See Thomas, Head & Greisen Employees Tr.
       v. Buster, 95 F.3d 1449, 1452 (9th Cir. 1996) (“Federal Rule 69(a) is in substance a
  24   choice-of-law provision not meant to put the judge into a procedural straitjacket,
       whether of state or federal origin….”) (internal quotation marks omitted).
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  26                            9
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
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Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 11 of 14 Page ID #:206



   1 individuals) their salaries and benefits, which clearly falls within the ambit of the
   2 Executive Order’s protections for government financial assistance made available to
   3 individuals.
   4        Second, it would be contrary to longstanding California jurisprudence to read
   5 this remedial law narrowly. See Cullerton v. Mead, 22 Cal. 95, 98 (1863) (“This is a
   6 remedial statute, and it must therefore be construed liberally, and when the meaning
   7 is doubtful, it must be so construed as to extend the remedy.”); see also Novak v.
   8 Fay, 236 Cal. App. 4th 329, 338 (2015) (same) (citing Cullerton). Here, the
   9 Executive Order states the remedial purpose thereof as “to alleviate the financial
  10 harms caused by the COVID-19 pandemic, and to otherwise further the public
  11 interest in mitigating the economic impacts of COVID-19, individuals who receive
  12 financial assistance under the CARES Act should be able to use such assistance to
  13 meet their own immediate financial needs, and to provide support to individuals who
  14 need and are entitled to such support.” Executive Order, 4th Whereas Clause.
  15 Accordingly, the Executive Order must be interpreted broadly to further its remedial
  16 goal of shielding government assistance funds—whether received by individuals
  17 directly or indirectly—so that such individuals can weather this unprecedented storm.
  18 V.     CONCLUSION
  19        For the foregoing reasons, Defendant respectfully requests an order ex parte
  20 determining that the Remaining PPP Funds received by Defendant under the
  21 Program, and which had been deposited into Defendant’s Bank Account at Citibank,
  22 N.A. are exempt from levy/execution as a matter of federal and/or California law.
  23 Accordingly, the Court should also order that Citibank, N.A. release any hold on
  24 Defendant’s Bank Account and make the levied-upon portion of the Remaining PPP
  25 Funds therein available forthwith for Defendant’s immediate use. In the event the
  26                            10
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
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Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 12 of 14 Page ID #:207



   1 levied-upon Remaining PPP Funds have already been turned over to the U.S.
   2 Marshals and/or the appointed registered process server, the Court should order that
   3 such funds be returned forthwith to Citibank, N.A., who shall in turn make such
   4 funds available forthwith for Defendant’s immediate use.
   5 DATED: July 24, 2020                   FREUNDLICH LAW
   6
   7
   8                                        Kenneth D. Freundlich
                                            Michael J. Kaiser
   9                                        Attorneys for Defendant Beautycon Media,
  10                                        Inc.

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     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
  28       BY DEFENDANT ARE EXEMPT FROM LEVY/EXECUTION
Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 13 of 14 Page ID #:208



   1
                                           PROOF OF SERVICE
   2        I am employed in the County of Los Angeles, State of California. I am over the age of 18
     and not a party to the within action. My business address is 16133 Ventura Blvd. Ste. 645, Encino,
   3 CA 91436. On July 24, 2020, I served the within document(s) described as:
   4 DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
               ORDER DETERMINING THAT LEVIED-UPON__
   5 FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
           BY DEFENDANT ARE EXEMPT FROM LEVY/EXECUTION
   6
       on the interested parties in this action as stated on the attached mailing list.
   7
               (BY MAIL) By placing a true copy of the foregoing document(s) in a sealed envelope
   8           addressed as set forth on the attached mailing list. I am readily familiar with this firm's
               practice for collection and processing of correspondence for mailing. Under that practice it
   9           would be deposited with the U.S. Postal Service on that same day with postage thereon
               fully prepaid in the ordinary course of business. I am aware that on motion of the party
  10           served, service is presumed invalid if postal cancellation date or postage meter date is more
               than one day after date of deposit for mailing contained in affidavit.
  11
               (BY EXPRESS MAIL) By placing a true copy of the foregoing document(s) in a sealed
  12           envelope addressed as set forth on the attached mailing list. I placed each such envelope for
               collection and overnight mailing following ordinary business practices. I am readily
  13           familiar with this firm's practice for collection and processing of Express Mail to be sent
               overnight by the U.S. Postal Service. Under that practice, it would be deposited on that
  14           same day in the ordinary course of business, with Express Mail postage thereon fully
               prepaid, in a post office, mailbox, sub-post office, substation, mail chute, or other like
  15           facility regularly maintained by the U.S. Postal Service for receipt of Express Mail.
  16     X     ((BY E-MAIL) By transmitting a true copy of the foregoing document(s) to the e-mail
               addresses set forth on the attached mailing list.
  17
               I declare under penalty of perjury under the laws of the State of California that the
  18 foregoing is true and correct.
  19        Executed on July 24, 2020, at Encino, California.
  20
  21     Kenenth D. Freundlich
                     (Type or print name)                                          (Signature)
  22
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  26                            12
     DEFENDANT BEAUTYCON MEDIA, INC.’s EX PARTE APPLICATION FOR
  27           ORDER DETERMINING THAT LEVIED-UPON__
     FEDERAL PAYCHECK PROTECTION PROGRAM (PPP) FUNDS RECEIVED
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Case 2:20-cv-01379-FMO-JEM Document 33 Filed 07/24/20 Page 14 of 14 Page ID #:209



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